  06/09/2021 WED 11:11                    FAX 662 289 4989 Frank Shaw                                                             ~002/007
                       Case 3:23-cv-00580-CWR-ASH Document 11-2 Filed 07/02/24 Page 1 of 1




                 FRANK~SMAW                                                                            ~ 662 289 4740
                                                                                                       &b 662 289 4989
                   Youy injiiry I*owyer          LAWFt~M
                                                                                                       @ frank@fi·ankshaw1awfirm.¢om
                                                                                                       * www.franks1iawJawfi rm.coni
                                                                                                       E 133 E Jefferson Street
                                                                                                          Koscitisko, MS 39090



                                                                         June 9, 2021

                State Farm Fire and Casua1ty Company                           Transmitted via Facsimi1e& Emai1: 844-236-3646
                ATTN: Andy McCaa,                                                           statefarmfirec1aims@statefarm.com
                POB 106169
                At1anta, GA 30348-6169

                          Re:         C1aim Number:               24-G700-9D2
                                      Insured:                    Darre11 Green
                                      Date ofLoss:                02/17/2021
                                      Po1icy Number:              99BF-U351-2

                Dear Andy,

                We represent Mr. Green, your insured, in regard to the above matter. It was a p1easure to speak with
                you today, and p1ease forward a11 future correspondence regarding the c1aim to me at the above
                address. I understand the insurance company's position is the insured's farm structure"does not have
                wa11s and therefore does not constitute meet the definition of a bui1ding.'' P1ease see the attached
                photos which shou1d aid in comp1eting your investigation.

                P1ease 1et me know if you need anything e1se from me in this regard. Thank you for your kind
                attention to this matter.


                                                                  Sincere1y,


                                                                 B1ake Harthcock, Attorney at Law
                                                                 Frank Shaw Law Firm, PLLC
               MBH
               Enc1osures
               as stated above




                                                                        B

92cS2116003633WPSFPFHP Received 6/9/2021 10:02:57 AM [CentraI DayIight Time]
